                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


TERRY KING,                                 )
                                            )
         Plaintiff,                         )
                                            )       NO. 3:18-cv-01234
v.                                          )
                                            )       JUDGE CAMPBELL
LISA HELTON, et al.,                        )
                                            )
         Defendants.                        )




 DONALD MIDDLEBROOKS,                           )
                                                )
          Plaintiff,                            )
                                                )     NO. 3:19-cv-01139
 v.                                             )
                                                )     JUDGE CAMPBELL
 LISA HELTON, et al.,                           )
                                                )
          Defendants.                           )



                                         ORDER

          Pending before the Court is Defendants’ Motion to Stay Proceedings in the above

captioned cases until the conclusion of the independent investigation that Governor Lee has

ordered of the lethal injection process in Tennessee and the timely completion of related

corrective action. (King, Doc. No. 219; Middlebrooks, Doc. No. 59). Defendants state that

it is “clearly contemplated that the independent investigation will result in changes to the

ways in which TDOC conducts lethal injection procedures, the ways in which those

procedures are staffed, and the personnel responsible for implementing those procedures.”

(King, Doc. No. 220 at 4; Middlebrooks, Doc. No. 60 at 4). Further, Defendant recognize



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that Plaintiffs may seek to amend their complaints to account for changes to the Protocol or

TDOC personnel resulting from the independent investigation and have agreed not to object

to Plaintiffs amending their complaints to address such changes. (King, Doc. Nos. 219-3 and

220 at 5; Middlebrooks, Doc. Nos. 59-3 and 60 at 5). Defendants add that Governor Lee has

paused all scheduled executions through the end of 2022 and has made clear that he intends

for the investigation to be complete and any corrective action put in place before any

executions proceed. (King, Doc. Nos. 220-2, 220-3; Middlebrooks, Doc. Nos. 60-2, 60-3).

       The Court agrees that the interests of the Parties and judicial economy and efficiency

will be best served by the staying the case pending the outcome of the independent

investigation. Accordingly, the Motion to Stay Proceedings in the above captions cases is

GRANTED and these cases will be administratively closed during the pendency of the

investigation. The trial scheduled for October 4, 2022, is CONTINUED to a date to be set

after the stay is lifted. Within 30 days of the completion of the investigation, Defendants

shall file a notice with the Court and move to reopen the cases and set a revised scheduling

order. In addition, if an execution date for either Plaintiff is set before the investigation is

complete and the cases reopened, Defendants shall immediately notify the Court.

       Defendants also filed a motion to withdraw their Motion for Summary Judgment

pending in the King case (King, Doc. No. 182), as well as their associated Memorandum

(King, Doc. No. 183) and Statement of Facts (King, Doc. No. 184), to which Plaintiff Terry

King is unopposed. (King, Doc. No. 218). The Motion is GRANTED. Accordingly,

Defendants need not respond to King’s Statement of Additional Material Facts (King,




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Doc. No. 201), and King’s Motion to Deny or Defer Consideration of Defendants’ Motion

for Summary Judgment (King, Doc. No. 203) is MOOT. King’s Motion for Leave to

Supplement Expert Report of Dr. Michaela Almgren (King, Doc. No. 199) is DENIED

WITHOUT PREJUDICE to refiling, if necessary, after the case is reopened.

      It is so ORDERED.


                                              _________________________________
                                              WILLIAM L. CAMPBELL, JR.
                                              UNITED STATES DISTRICT JUDGE




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